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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                      CERTIFICATE OF PUBLICATION

       I, Rohany Tejada, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        This Certificate of Publication includes certification verifying that the Notice of Proposed
Sale of Assets, Bidding Procedures, Auction, and Sale Hearing, as conformed for publication, was
published on December 19, 2024, in The New York Times, as described in the affidavit attached
hereto as Exhibit A.


Dated: December 26, 2024
                                                                                      /s/ Rohany Tejada
                                                                                       Rohany Tejada




1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.



                                                                                                               SRF 84573
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                      Exhibit A
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The NewYorkTimes
Company




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New York, NY 10018
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                                                                                                                     December 23, 2024



                        I, Larnyce Tabron, in my capacity as a Principal Clerk of the Publisher
                        of The New York Times, a daily newspaper of general circulation
                        printed and published in the City, County, and State of New York,
                        hereby certify that the advertisement annexed hereto was published in
                        the editions of The New York Times on the following date or dates, to
                        wit on.
                         12/19/2024, NY/NATL, pg B3




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                                                                                  THE NEW YORK TIMES BUSINESS THURSDAY, DECEMBER 19, 2024                                                                             N                                  B3



                                                                                                        ECONOMY | BANKING




Economy Is Finally Stable, but for How Long?                                                                                                                           Fed Cuts Rates, but Sees
FROM FIRST BUSINESS PAGE
improve, suggesting that the pub-
lic, too, believed the economy was
                                         Thomas Homan, his “border czar,”
                                         and Stephen Miller, his deputy
                                                                                defied similar predictions in his
                                                                                first term and imposed steep tar-
                                                                                                                             on growth and possibly lead to
                                                                                                                             higher unemployment.                      Fewer Reductions in 2025
                                         chief of staff — that suggest he       iffs on allies and adversaries. Eco-            And while recession fears have
beginning to normalize.                                                                                                                                                FROM FIRST BUSINESS PAGE
                                         plans to take a hard-line stance.      nomic research has found that                faded this year, policymakers still
   Officially, Mr. Gapen and his col-                                                                                                                                  they reignite the economy, though
                                         And despite the choice of Mr.          those policies raised consumer               face the central challenge: how to                                                Federal Funds Target Rate
leagues are predicting that U.S.                                                                                                                                       — and they have now arrived at a
                                         Bessent, Mr. Trump has continued       prices and slowed growth, al-                bring down inflation without large                                                8%
gross domestic product, adjusted                                                                                                                                       point where it is uncertain how
                                         to talk about his plans for tariffs    though the effects were modest.              job losses. Inflation cooled rapidly
for inflation, will grow a bit more                                                                                                                                    much further rates should fall.
                                         since the election. Last month, he        The context is very different             in 2023 but has proved more stub-                                                                        RECESSIONS
than 2 percent next year, roughly                                                                                                                                          “Our policy stance is now signif-
                                         announced on social media that he      this time around. When Mr.                   born this year. The unemploy-                                                     6
in line with forecasts from other                                                                                                                                      icantly less restrictive,” Jerome H.
                                         would put 25 percent tariffs on im-    Trump took office in 2017, the U.S.          ment rate, at 4.2 percent in No-
Wall Street analysts. That would                                                                                                                                       Powell, the Fed chair, said during
                                         ports from Canada and Mexico           economy was emerging from the                vember, is low but has edged up. It                                                                      0.25-point
be a modest slowdown from this                                                                                                                                         a news conference on Wednesday.
                                         unless they stopped drugs and mi-      grindingly slow recovery that fol-           is taking longer for unemployed           “We can therefore be more cau-                                  decrease
                                                                                                                                                                                                               4
year, when the economy grew              grants from entering the United        lowed the Great Recession. Infla-            workers to find jobs — a sign that        tious as we consider further ad-
more than 2.5 percent according          States.                                tion and interest rates were both            the job market could be weaker            justments to our policy rate.”
to most estimates, and consistent                                                                                            than it appears.
                                            “Markets have a serenity about                                                                                                 “From here, it’s a new phase,”      2
with the recent cooling after a pe-                                                                                             “If there’s one thing you want to
                                         trade and immigration policy that                                                                                             Mr. Powell later added.
riod of frenetic postpandemic
                                         I think is unwarranted,” said Mi-
                                                                                No one knows which                           be concerned about with the econ-             The Fed’s forecasts make clear
growth.                                                                                                                      omy right now it’s around the la-
   But Mr. Gapen doesn’t put
                                         chael Strain, an economist at the      of his stated policies                       bor market,” said Aditya Bhave,
                                                                                                                                                                       that central bankers are poised to      0
                                         American Enterprise Institute, a                                                                                              slow rate cuts notably starting         2000     ’05     ’10      ’15       ’20   ’25
much stock in his own forecast
this year.
                                         conservative think tank. “Trade        Trump will pursue.                           senior economist at Bank of
                                                                                                                             America.
                                                                                                                                                                       next year as stubborn inflation
                                         and immigration policy could be                                                                                               lingers — and Mr. Powell made it        Source: Federal Reserve    THE NEW YORK TIMES
   “There’s a wide range of poten-                                                                                              Yet forecasters have consis-           clear that the Fed wants to see fur-
                                         extremely disruptive to the econ-
tial outcomes, and a base-line out-                                             low, and had been for years.                 tently underestimated the resil-          ther progress toward cooler infla-
                                         omy.”                                                                                                                                                                 solid and inflation has been more
look isn’t quite as useful as it is in                                             This time, Mr. Trump is inher-            ience of the U.S. economy in re-          tion to cut interest rates at all.
normal times,” he said.                     Mr. Strain outlined a worst-case    iting an economy that is solid but                                                                                             stubborn than many economists
                                                                                                                             cent years. And there are good                Markets shuddered at that as-
                                         outlook for the economy, in which      slowing. Inflation has eased but                                                                                               had expected.
   Stocks have soared since the                                                                                              reasons for continued optimism.           sessment, with the dollar soaring
                                         steep new tariffs discourage in-       remains above the Fed’s target of                                                                                                 Mr. Powell said that the recent
election, suggesting that many in-                                                                                           Households have comparatively             and stocks plummeting. The S&P
                                         vestment, mass deportations limit      2 percent, and memories of the                                                                                                 lack of progress on inflation
vestors see a rosier picture, with                                                                                           little debt relative to their in-         500 index fell nearly 3 percent, its
                                         employers’ ability to find workers                                                                                                                                    “might be the single biggest fac-
fatter profits and faster growth.                                               rapid price increases of a few               comes, suggesting that con-               worst tumble since August. The
                                         and mounting deficits drive up                                                                                                                                        tor” driving the Fed’s forecast for
Many of them appear to be betting                                               years ago are fresh in consumers’            sumers can keep spending. Pro-            Dow Jones industrial average fell
                                         borrowing costs. If that happens,                                                                                                                                     price increases in 2025 higher.
that Mr. Trump will focus on cut-                                               minds. Interest rates are still high         ductivity growth has been strong          for a 10th-straight day, its longest
                                         Americans could face both rising                                                                                                                                         But Fed officials are also oper-
ting taxes and regulations, while                                               by recent standards, and the Fed             in recent years, and the spread of        losing streak since October 1974.
                                         prices and slowing growth — a                                                                                                                                         ating in an environment of uncer-
taking a moderate approach to                                                   has lowered them more slowly                 artificial intelligence could keep            Fed officials predicted that they
                                         form of the “stagflation” that the                                                                                                                                    tainty: President-elect Donald J.
trade and immigration policy. In-                                               than forecasters expected a year             that momentum going. Most in-             would cut rates to 3.9 percent in       Trump has been promising to im-
vestors particularly cheered his         U.S. economy last experienced          ago.                                         vestors see the United States as a        2025 in their fresh economic esti-      pose tariffs on American trading
selection of Wall Street executives      nearly a half century ago.                All of that means that both con-          safe place to invest, especially          mates — suggesting that they will       partners, and those could push
for key roles — particularly Scott          “In this scenario, the price of     sumers and policymakers are                  compared with the rest of the             make just two rate cuts next year.      prices up and feed into inflation if
Bessent, a hedge fund manager,           imported goods, the price of gro-      likely to be less tolerant of higher         world.                                    They had forecast four when they        they become reality.
as Treasury secretary — believing        ceries, the price of restaurant        prices than they were during Mr.                “This time last year, many ex-         last released economic projec-             Some Fed policymakers did
they will help dissuade Mr. Trump        meals, the price of homes all shoot    Trump’s first term. The Fed cut in-          pected the economy at some time           tions back in September.                count fiscal policy into their eco-
from imposing the most ag-               up dramatically,” Mr. Strain said.     terest rates on Wednesday for the            this year to be in a recession or to          They then expect to make two        nomic projections, which could
gressive version of his proposed            Mr. Strain isn’t predicting that    third straight meeting, but many             have inflation have a very pro-           rate cuts in 2026, and one in 2027.     have driven some of the increase
tariffs.                                 all of those things will happen. But   economists believe the central               nounced last-mile problem,” said              The exact timing of the Fed’s fu-   in their inflation forecasts. But ex-
   But that could be a risky gam-        he argued that Wall Street was         bank will be reluctant to lower              Blerina Uruci, chief U.S. econo-          ture rate reductions is uncertain,      actly how much the policies would
ble. On immigration policy, Mr.          making a mistake by dismissing         rates further until it becomes               mist at T. Rowe Price. “We don’t          and Mr. Powell made it clear that       affect inflation is uncertain.
Trump has announced senior-lev-          the possibility of this outcome —      clear what effect Mr. Trump’s poli-          worry as much about a recession           any moves would be based on in-            “I wouldn’t say that we know
el appointments — including              particularly because Mr. Trump         cies are having. That could weigh            now.”                                     coming data. He suggested that          whether the last episode is or is
                                                                                                                                                                       the Fed might hold off on rate cuts     not a good model,” Mr. Powell said
                                                                                                                                                                       if inflation were to get stuck at an    on Wednesday, referring to the
                                                                                                                                                                       unexpectedly higher level.              tariffs put in place during Mr.
                                                                                                                                                                           “For additional cuts, we’re go-     Trump’s first term. He explained
Bank Flagged Payments to Epstein Only After He Died                                                                                                                    ing to be looking for further
                                                                                                                                                                       progress on inflation,” Mr. Powell
                                                                                                                                                                       said on Wednesday.
                                                                                                                                                                                                               that officials are going to “take our
                                                                                                                                                                                                               time, not rush,” and wait to see
                                                                                                                                                                                                               what the policies actually look like
   By MATTHEW GOLDSTEIN                                                                                                                                                    He also said that further soft-     before reacting.
                                                                                                                                                                       ening in the labor market was “not         The economic combination fac-
When Bank of America alerted fi-
                                                                                                                                                                       something we need to see.” But he       ing the Fed in 2025 — an expecta-
nancial regulators in 2020 to po-                                                                                                                                                                              tion for resilient growth and a
                                                                                                                                                                       stopped short of suggesting that
tentially suspicious payments                                                                                                                                          the Fed would cut interest rates        hairier inflation outlook — ex-
from Leon Black, the billionaire                                                                                                                                       purely to prevent job conditions        plains the central bank’s shift to-
investor, to Jeffrey Epstein, the                                                                                                                                      from cooling, as it has in recent       ward a wait-and-see approach.
disgraced financier, the bank was                                                                                                                                      months.                                    “If the economy does evolve
following a routine practice.                                                                                                                                              Fed policymakers are balanc-        about as anticipated, we’re at a
   The bank filed two “suspicious                                                                                                                                      ing two big risks. They do not          point at which it would be appro-
activity reports,” or SARs, which                                                                                                                                      want to keep rates so high for so       priate to slow the pace of rate
are meant to alert law enforce-                                                                                                                                        long that they tank the economy.        cuts,” Mr. Powell said.
ment to potential criminal activi-                                                                                                                                     But they also want to make sure to         In fact, some officials thought
ties like money laundering, ter-                                                                                                                                       fully stamp out rapid inflation —       that the Fed should hit pause on
rorism financing or sex traffick-                                                                                                                                      and right now, price increases are      interest rates this month. Beth
ing. One was filed in February                                                                                                                                         making officials wary.                  Hammack, the president of the
2020 and the other eight months                                                                                                                                            On Wednesday, policymakers          Federal Reserve Bank of Cleve-
later, according to a congressional                                                                                                                                    predicted that inflation would end      land, voted against the rate cut,
memorandum reviewed by The                                                                                                                                             2025 at 2.5 percent, up from the        preferring to leave borrowing
New York Times.                                                                                                                                                        previous 2.1 percent estimate and       costs unchanged.
   SARs are expected to be filed                                                                                                                                       well above the central bank’s 2            “The job’s not done,” Mr. Powell
within 60 days of a bank spotting a                                                                                                                                    percent inflation target.               said Wednesday.
questionable transaction.                                                                                                                                                  Those revisions come after a           The Fed chair still had an over-
   But the warnings in this case,                                                                                                                                      surprising period in the economy.       all optimistic message for the
according to the congressional                                                                                                                                             Earlier this year, the unemploy-    American public: “The U.S. econ-
memo, were not filed until several                                                                                                                                     ment rate was climbing, hiring          omy is just performing very, very
years after the payments, totaling                                                                                                                                     was slowing, and inflation had          well — substantially better than
$170 million, had been made. By                                                                                                                                        been falling steadily. But since        our global peer group,” Mr. Powell
the time of the first filing, Mr. Ep-                                                                                                                                  September, the job market has           said. “The outlook is pretty bright
stein had already been dead for                                                                                                                                        shown signs of stabilizing, con-        for our economy. We have to stay
six months, after taking his own                                                                                                  JEENAH MOON FOR THE NEW YORK TIMES   sumer spending has remained             on task, though.”
life in a Manhattan jail following       Senate staff members want Bank of America investigated for the way it reported payments to Jeffrey Epstein.
his arrest on federal sex-traffick-
ing charges.                             Mr. Black’s decision in early 2021     Wyden also sent a letter to Bank of          Virgin Islands filed a civil racket-
   The delayed filings have led          to step down as chief executive of     America’s chief executive, Brian             eering lawsuit against Mr. Ep-
congressional investigators to           Apollo Management, the private         Moynihan, asking about the due               stein’s estate in January 2020,
question whether Bank of Amer-           equity firm of which he was a co-      diligence the bank had conducted.            over his nearly two decades-long
ica violated federal laws against        founder.                                  “A late filing, in and of itself, isn’t   sex-trafficking operation in the
money laundering. Also of con-              Mr. Black, a Bank of America        an indication you were lax or bad,”          U.S. territory. The second report
cern to investigators is that the        customer with a net worth of $13       said Elise Bean, a former chief              was filed in October 2020, after
bank apparently processed the            billion, has insisted that the pay-    counsel to the Senate Permanent              The Times and other media began
payments “without asking for in-                                                Subcommittee on Investigations,              to report on the deep ties between
                                         ments were for legitimate tax
formation as to the nature of the                                               who has specialized in money-                Mr. Epstein and Mr. Black.
                                         work and advice on art transac-
transactions,” the memo said. The                                               laundering investigations. Ms.
                                         tions. Dechert, a law firm hired by                                                    SARs are confidential reports
bank told regulators in its initial                                             Bean said the issue for regulators
                                         Apollo to review Mr. Black’s deal-                                                  and filings are rarely made public.
filing that the wire transfers had
                                         ings with Mr. Epstein, found that                                                      It is unclear what will happen to
“no apparent economic, business
                                         the work had saved Mr. Black                                                        the investigation once Republi-
or lawful purpose,” according to
                                         nearly $2 billion in federal taxes.    ‘Suspicious activity                         cans take control of the Senate.
the memo.
   The details in the congressional
                                            The law firm said there was no      reports’ are a warning                       Scott Bessent, President-elect
                                                                                                                             Donald J. Trump’s pick to run the
memo also illustrate a problem           evidence Mr. Black knew of Mr.
with the SARs system. Each year          Epstein’s predatory behavior. It       about potential                              Treasury Department, will likely
                                         found that he made $158 million in                                                  be able to appoint a new director
banks file millions of these confi-
                                         payments, and a $30 million loan       criminal activities.                         of the financial crimes division.
dential reports with regulators,
but it is not uncommon for banks         to Mr. Epstein.                                                                     Last week the Republican-con-
to file them long after the transac-        A spokesman for Mr. Black de-       is whether a bank was “deliber-              trolled House Judiciary Commit-
tions have taken place. Banks            clined to comment.                     ately late” in filing a report.              tee released a report arguing that
may not act because they’re un-             The Senate Finance Committee           Ms. Bean said sometimes it can            the SARs process has been “weap-
aware of a reason to dig deeper          has focused on the value of the ad-    take a news event to prompt a                onized” to spy on Americans and
into a transaction, or they may not      vice Mr. Epstein gave Mr. Black,       bank to go back and review its               weaken their “financial privacy.”
want to cause trouble for a              since Mr. Epstein had no particu-      records and retroactively flag a                Bank of America is not the only
wealthy customer, money laun-            lar training in tax or estate work.    transaction as suspicious.                   big bank to have been questioned
dering experts say.                      The committee’s staff learned             A Bank of America spokesman               about suspicious transactions in-
   The memo, prepared by staff           about the belated SARs filing dur-     declined to comment.                         volving Mr. Epstein.
working for Senator Ron Wyden,           ing the course of its investigation,      Bank of America filed the first              In litigation involving hundreds
the Oregon Democrat and chair of         according to the memo. Senator         SARs a few weeks after the U.S.              of Mr. Epstein’s sexual abuse vic-
the Senate Finance Committee,                                                                                                tims, it was disclosed that JPMor-
recommended that Mr. Wyden                                                                                                   gan Chase had filed several SARs
ask the Treasury Department’s                                                                                                after the bank kicked him out as a
Financial Crimes Enforcement                                                                                                 client in 2013, including one that
Network to investigate Bank of                                                                                               was filed after Mr. Epstein’s death
America’s conduct. The finance                                                                                               in 2019.
committee has been conducting                                                                                                   Deutsche Bank, which subse-
its own investigation into the                                                                                               quently became Mr. Epstein’s pri-
large payments from Mr. Black to                                                                                             mary banker, paid a $150 million
Mr. Epstein for nearly two years.                                                                                            fine to New York bank regulators,
   A spokesman for Mr. Wyden                                                                                                 in part because of its due diligence
said he was still considering the                                                                                            failures in monitoring Mr. Ep-
recommendations, but was likely                                                                                              stein’s financial affairs. Last year,
to follow through on them.                                                                                                   JPMorgan agreed to pay $290 mil-
   The payments from Mr. Black                                                                                               lion and Deutsche Bank $75 mil-
to Mr. Epstein — made between                                                                                                lion to Mr. Epstein’s victims to set-
2012 and 2017 — have been a                                                                                                  tle allegations they had facilitated
source of controversy since late                                                                                             his trafficking of teenage girls and
2020, when The New York Times                                                                                                young women.
reported that the business and                                                                                                  JPMorgan and Mr. Black sepa-
personal ties between the two                                                                                                rately reached financial settle-
men were far greater than previ-                                                                   LUCY NICHOLSON/REUTERS    ments with the Virgin Islands to
ously known. The dealings be-            Leon Black in 2018. Mr. Black, a Bank of America customer with a net worth          settle investigations into Mr. Ep-
tween the two men contributed to         of $13 billion, made payments totaling $170 million to Mr. Epstein.                 stein’s activities there.
